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     February 6, 2023

     Jeremy A. Lieberman
     Pomerantz LLP
     600 Third Avenue
     New York, NY 10016

     Re:          Patel v. Koninklijke Philips N.V., et al., No. 1:21-cv-04606 (ERK) (MMH) (E.D.N.Y.)

     Dear Mr. Lieberman,

     We write on behalf of Defendant John Frank in the above-captioned action and in accordance
     with Rule IV(d)(i) of the Court’s individual motion practices. We enclose the following
     materials:

           1. Defendant Frank’s Notice of Motion to Dismiss the Second Amended Complaint;

           2. Defendant Frank’s Memorandum of Law in Support of His Motion to Dismiss the
              Second Amended Complaint; and

           3. Declaration of Jenny Kramer in Support of Defendant Frank’s Motion to Dismiss the
              Second Amended Complaint and exhibits thereto.

     Sincerely,
     /s/ Jenny Kramer
     Jenny Kramer




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